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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


LUIS SEGOVIA, et al.,           )
                                )
                 Plaintiffs,    )
                                )                     Case No. 15-cv-10196
v.                              )
                                )
BOARD OF ELECTION COMMISSIONERS )                     Judge Joan B. Gottschall
FOR THE CITY OF CHICAGO, et al. )
,                               )
                                )
                 Defendants.    )

                                    NOTICE OF MOTION
TO: Counsel of Record

       PLEASE TAKE NOTICE that on Friday, January 15, 2016, at 9:30 a.m., or as soon

thereafter as counsel may be heard, we shall appear before the Hon. Judge Joan B. Gottschall in

Courtroom 2325 of the United States District Court for the Northern District of Illinois, Eastern

Division, 219 South Dearborn Street, Chicago, Illinois, and shall then and there present the

attached Defendant Board of Election Commissioners for the City of Chicago’s Rule 25(d)

Motion to Substitute Parties.

Dated: January 12, 2016                      Respectfully submitted,

                                             BOARD OF ELECTION COMMISSIONERS FOR
                                             THE CITY OF CHICAGO, Defendant.

                                             By:    s/ James M. Scanlon             __
                                                    James M. Scanlon & Associates, P.C.
                                                    27 N. Wacker Dr. #502
                                                    Chicago, IL 60606
                                                    312-782-8163




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 12, 2016, I electronically filed the foregoing Notice of
Motion and the Board of Election Commissioners for the City of Chicago’s Rule 25(d) Motion to
Substitute Parties with the Clerk of the Court for the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF electronic filing
system, which sent electronic notification of the filing the same day to all counsel registered in
the CM/ECF filing service in this case.


                                                     s/ James M. Scanlon
                                                    __________________
                                                    James M. Scanlon




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